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                             UNITED STATES BANKRUPTCY COURT

                                EASTERN DISTRICT OF LOUISIANA

  IN RE:                                                            Case NO. 20-11085
  KENYETTA JERELLE LONG                                             Chapter 7
        Debtor                                                      Judge Meredith S. Grabill

  LOUISIANA WORKFORCE COMMISSION
       Plaintiff
  VS.
  KENYETTA JERELLE LONG                                             Adv. No. 20-01052
       Defendant


                                                  ORDER

          CONSIDERING the foregoing Motion for Extension of Time to File Responsive

  Pleadings (ECF Doc. 4) filed herein by Kenyetta Jerelle Long, debtor herein;

          IT IS HEREBY ORDERED that the debtor, Kenyetta Jerelle Long, is granted an

  additional thirty days to file responsive pleadings herein.

          IT IS FURTHER ORDERED that counsel shall serve this order on the required parties

  who will not receive notice through the ECF system pursuant to the FRBP and the LBR’s and

  file a certificate of service to that effect within three days.

          New Orleans, Louisiana, September 14, 2020.



                                                  MEREDITH S. GRABILL
                                                  UNITED STATES BANKRUPTCY JUDGE
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